AO 245B (W D N C R ev. 4/09) Judgm ent in a C rim inal C ase



                                                           United States District Court
                                                      For The W estern District of North Carolina

UNITED STATES OF AMERICA                                                                   JUDGM ENT IN A CRIM INAL CASE
                                                                                   (For Offenses Com m itted On or After Novem ber 1, 1987)
             V.
                                                                                   Case Num ber: DNCW 308CR000134-022
OSCAR MANUEL MORAL-HERNANDEZ
                                                                                   USM Num ber: 23057-058
                                                                                   Randolph Lee
                                                                                   Defendant’s Attorney

THE DEFENDANT:

X            pleaded guilty to count(s) 1ss,48ss.
             Pleaded nolo contendere to count(s) which was accepted by the court.
             W as found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):


                                                                                                  Date Offense
 Title and Section                    Nature of Offense                                           Concluded                      Counts

 18:1962(d)                           Conspiracy to com m it racketeering                         12/16/08                       1ss

 18:924(c)                            Use and carry of firearm s during and in relation to a      3/21/08                        48ss
                                      crim e of violence and aiding and abetting (18:2)



         The defendant is sentenced as provided in pages 2 through 6 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

             The defendant has been found not guilty on count(s) .
X            Count(s) 1,1s,1sss,40-41,42,43,46s,46ss-47ss,46sss,47s,47sss,48s,48sss,49s,49ss,49sss (is)(are) dism issed on the
             m otion of the United States.

           IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully
paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States attorney of any m aterial change in
the defendant’s econom ic circum stances.

                                                                                          Date of Im position of Sentence: 5/18/10




                                                                                          Date:         June 23, 2010




                      Case 3:08-cr-00134-RJC-SCR                    Document 1129          Filed 06/23/10        Page 1 of 6
AO 245B (W D N C R ev. 4/09) Judgm ent in a C rim inal C ase

Defendant: OSCAR MANUEL MORAL-HERNANDEZ                                                                                     Judgm ent-Page 2 of 6
Case Num ber: DNCW 308CR000134-022

                                                                         IM PRISONM ENT

         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of
Count 1ss: THIRTY-FOUR (34) MONTHS. Count 48ss: SIXTY (60) MONTHS to run consecutively with count 1ss for A TOTAL OF
NINETY-FOUR (94) MONTHS.




X     The Court m akes the following recom m endations to the Bureau of Prisons:
              Participation in any available substance abuse treatm ent program . If eligible receive benefits of 18:3621(e)(2).
              Support dependents from prison earnings.
              Participation in Inm ate Financial Responsibility Program .

X     The defendant is rem anded to the custody of the United States Marshal.

     The defendant shall surrender to the United States Marshal for this district:

                  At        On     .
                  As notified by the United States Marshal.

     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:


                  Before 2 pm on .
                  As notified by the United States Marshal.
                  As notified by the Probation or Pretrial Services Office.

                                                                             RETURN

I have executed this Judgm ent as follows:




             Defendant delivered on                                              To

At                                                             , with a certified copy of this Judgm ent.


                                                                                                  United States Marshal

                                                                                         By
                                                                                                  Deputy Marshal




                      Case 3:08-cr-00134-RJC-SCR                         Document 1129            Filed 06/23/10     Page 2 of 6
AO 245B (W D N C R ev. 4/09) Judgm ent in a C rim inal C ase



Defendant: OSCAR MANUEL MORAL-HERNANDEZ                                                                                                           Judgm ent-Page 3 of 6
Case Num ber: DNCW 308CR000134-022

                                                                      SUPERVISED RELEASE

       Upon release from im prisonm ent, the defendant shall be on supervised release for a term of Count 1ss: THREE (3)
YEARS. Counts 48ss: FIVE (5) YEARS to run concurrently with Count 1ss.

             The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant poses a low
             risk of future substance abuse.

                                                        STANDARD CONDITIONS OF SUPERVISION

             The defendant shall com ply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.           The defendant shall not com m it another federal, state, or local crim e.
2.           The defendant shall refrain from possessing a firearm , destructive device, or other dangerous weapon.
3.           The defendant shall pay any financial obligation im posed by this judgm ent rem aining unpaid as of the com m encem ent of the sentence of probation or the
             term of supervised release on a schedule to be established by the C ourt.
4.           The defendant shall provide access to any personal or business financial inform ation as requested by the probation officer.
5.           The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.           The defendant shall not leave the W estern D istrict of N orth C arolina without the perm ission of the C ourt or probation officer.
7.           The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall subm it a truthful and com plete written
             report within the first five days of each m onth.
8.           A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release
             from custody of the Bureau of Prisons.
 9.          The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.          The defendant shall support his or her dependents and m eet other fam ily responsibilities.
11.          The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by
             the probation officer.
12.          The defendant shall notify the probation officer within 72 hours of any change in residence or em ploym ent.
13.          The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or adm inister any narcotic or other
             controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.          The defendant shall participate in a program of testing and treatm ent or both for substance abuse if directed to do so by the probation officer, until such
             tim e as the defendant is released from the program by the probation officer; provided, however, that defendant shall subm it to a drug test within 15 days
             of release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions
             of 18:3563(a)(5) or 18:3583(d), respectively.
15.          The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adm inistered.
16.          The defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any person convicted of a felony unless
             granted perm ission to do so by the probation officer.
17.          The defendant shall subm it his person, residence, office, vehicle and/or any com puter system including com puter data storage m edia, or any electronic
             device capable of storing, retrieving, and/or accessing data to which they have access or control, to a search, from tim e to tim e, conducted by any U.S.
             Probation Officer and such other law enforcem ent personnel as the probation officer m ay deem advisable, without a warrant. The defendant shall warn
             other residents or occupants that such prem ises or vehicle m ay be subject to searches pursuant to this condition.
18.          The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it confiscation of any contraband
             observed by the probation officer.
19.          The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcem ent officer.
20.          The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency without the perm ission of the
             C ourt.
21.          As directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the defendant’s crim inal record or personal
             history or characteristics, and shall perm it the probation officer to m ake such notifications and to confirm the defendant’s com pliance with such notification
             requirem ent.
22.          If the instant offense was com m itted on or after 4/24/96, the defendant shall notify the probation officer of any m aterial changes in defendant’s econom ic
             circum stances which m ay affect the defendant’s ability to pay any m onetary penalty.
23.          If hom e confinem ent (hom e detention, hom e incarceration or curfew) is included you m ay be required to pay all or part of the cost of the electronic
             m onitoring or other location verification system program based upon your ability to pay as determ ined by the probation officer.
24.          The defendant shall cooperate in the collection of D N A as directed by the probation officer.
25.          The defendant shall participate in transitional support services under the guidance and supervision of the U .S. Probation Officer. The defendant shall
             rem ain in the services until satisfactorily discharged by the service provider and/or with the approval of the U .S. Probation Officer.


ADDITIONAL CONDITIONS:

25.          The defendant shall surrender to a duly authorized Im m igration official.
26.          If ordered deported the defendant shall remain outside the U.S.




                      Case 3:08-cr-00134-RJC-SCR                            Document 1129                 Filed 06/23/10              Page 3 of 6
AO 245B (W D N C R ev. 4/09) Judgm ent in a C rim inal C ase



Defendant: OSCAR MANUEL MORAL-HERNANDEZ                                                                               Judgm ent-Page 4 of 6
Case Num ber: DNCW 308CR000134-022

                                                               CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


                   ASSESSM ENT                                               FINE                                  RESTITUTION

                        $200.00                                              $0.00                                      $0.00



                                                                           FINE


          The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the Schedule of
Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X                 The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:

X                 The interest requirem ent is waived.

                  The interest requirem ent is m odified as follows:


                                                               COURT APPOINTED COUNSEL FEES

                  The defendant shall pay court appointed counsel fees.

X                 The defendant shall pay $1,000.00 towards court appointed fees.




                      Case 3:08-cr-00134-RJC-SCR                      Document 1129     Filed 06/23/10       Page 4 of 6
AO 245B (W D N C R ev. 4/09) Judgm ent in a C rim inal C ase


Defendant: OSCAR MANUEL MORAL-HERNANDEZ                                                                                      Judgm ent-Page 5 of 6
Case Num ber: DNCW 308CR000134-022


                                                                    SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

             A                 Lum p sum paym ent of $                   Due im m ediately, balance due

                               Not later than                , or
                               In accordance              (C),        (D) below; or

             B     X           Paym ent to begin im m ediately (m ay be com bined with           (C),     X (D) below); or

             C                 Paym ent in equal            (E.g. weekly, m onthly, quarterly) installm ents of $            To com m ence
                                 (E.g. 30 or 60 days) after the date of this judgm ent; or

             D     X           Paym ent in equal Monthly (E.g. weekly, m onthly, quarterly) installm ents of $ 50.00 To com m ence
                               60 (E.g. 30 or 60 days) after release from im prisonm ent to a term of supervision. In the event the entire
                               am ount of crim inal m onetary penalties im posed is not paid prior to the com m encem ent of supervision, the
                               U.S. Probation Officer shall pursue collection of the am ount due, and m ay request the court to establish or
                               m odify a paym ent schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

             The defendant shall pay the cost of prosecution.
             The defendant shall pay the following court costs:
X            The defendant shall forfeit the defendant’s interest in the following property to the United States:
                Any property seized by the U.S.


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of im prisonm ent
paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary penalty paym ents are
to be m ade to the United States District Court Clerk, 401 W est Trade Street, Room 210, Charlotte, NC 28202, except those paym ents
m ade through the Bureau of Prisons’ Inm ate Financial Responsibility Program . All crim inal m onetary penalty paym ents are to be
m ade as directed by the court.

The Defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
com m unity restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court costs.




                       Case 3:08-cr-00134-RJC-SCR                       Document 1129         Filed 06/23/10        Page 5 of 6
AO 245B (W D N C R ev. 4/09) Judgm ent in a C rim inal C ase



Defendant: OSCAR MANUEL MORAL-HERNANDEZ                                                                           Judgm ent-Page 6 of 6
Case Num ber: DNCW 308CR000134-022

                                                           STATEMENT OF ACKNOW LEDGMENT

I understand that m y term of supervision is for a period of _______m onths, com m encing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court m ay (1) revoke supervision, (2) extend the
term of supervision, and/or (3) m odify the conditions of supervision.

I understand that revocation of probation and supervised release is m andatory for possession of a controlled substance, possession
of a firearm and/or am m unition, and/or refusal to com ply with drug testing.

These conditions have been read to m e. I fully understand the conditions and have been provided a copy of them .




(Signed)      ____________________________________ Date: _________________
            Defendant

(Signed)      ____________________________________ Date: _________________
            U.S. Probation Office/Designated W itness




                      Case 3:08-cr-00134-RJC-SCR                   Document 1129   Filed 06/23/10        Page 6 of 6
